     Case 1:19-cv-00644-RJJ-RSK ECF No. 5 filed 08/14/19 PageID.43 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


RONALD D. SORTLAND, et al.,

               Plaintiffs,
                                                         CASE NO. 1:19-CV-644
v.
                                                         HON. ROBERT J. JONKER
UNKNOWN COLOMBEL-SINGH,
et al.,

               Defendants.
                                    /


                                 ORDER OF REFERENCE

        The captioned case is referred to Magistrate Judge Ray Kent for all pretrial

purposes. The magistrate judge shall decide all nondispositive motions and conduct all

necessary conferences pursuant to 28 U.S.C.§636(b)(1)(A). The magistrate judge shall

file a report and recommendation on all dispositive matters under 28 U.S.C.

§636(b)(1)(B).



Date:    August 14, 2019                   /s/ Robert J. Jonker
                                           ROBERT J. JONKER
                                           CHIEF UNITED STATES DISTRICT JUDGE
